        Case 5:23-cv-04107-JAR         Document 96      Filed 03/06/25     Page 1 of 1




                 United States District Court
      -------------------------- DISTRICT OF KANSAS----------------------------

JUSTIN SPIEHS,

                         Plaintiff,

v.                                                 Case No: 23-4107-JAR

LISA LARSEN, et al.,

                         Defendants.

                           JUDGMENT IN A CIVIL CASE
☐      Jury Verdict. This action came before the Court for a jury trial. The issues have been
       tried and the jury has rendered its verdict.

☒      Decision by the Court. This action came before the Court. The issues have been
       considered and a decision has been rendered.

       IT IS THEREFORE ORDERED BY THE COURT that Defendants’ Motion for

Summary Judgment (Doc. 84) is granted and Plaintiff’s Motion for Partial Summary Judgment

(Doc. 82) is denied. The Clerk is directed to enter judgment in favor of Defendants and

terminate this action.


       IT IS SO ORDERED.

                                                   SKYLER B. O’HARA
     Dated: March 6, 2025                          CLERK OF THE DISTRICT COURT

                                                   by: s/ Sarah Spegal
                                                          Deputy Clerk
